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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )              Criminal No. 1:19-cr-10141-LTS
                                                )
                                                )
SHELLEY M. RICHMOND JOSEPH                      )
and                                             )
WESLEY MACGREGOR                                )


                JOINT MOTION TO COMPEL PRODUCTION OF DISCOVERY

     I.       INTRODUCTION

           The defendants, Shelly M. Richmond Joseph and Wesley MacGregor, are alleged to have

facilitated the release of a so-called alien designated by the government as A.S. The Government

alleges that a Defense Attorney and a court officer (the defendant MacGregor) conspired to avoid

ICE prior to A.S. being brought into the Newton District Court courtroom, for the third time on

the afternoon of April 2, 2017, and that the defendant Joseph joined the conspiracy at sidebar, in

the presence of, and in conversation with, the Defense Attorney and Assistant District Attorney,

The judge allegedly permitted the Defense Attorney to return downstairs to the lockup where the

defendant MacGregor opened a courthouse back door once A.S. was released from custody.

     II.      EXCULPATORY EVIDENCE

           By letter request on June 6, 2019, pursuant to Local Rule 116.3(a), the defendant Joseph

sought certain exculpatory discovery regarding two key government witnesses: the so-called

“alien” and the Defense Attorney. The exculpatory discovery requested pursuant to L.R.




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116.2(b)(1)(C), sought only four items – two regarding A.S. and two regarding the Defense

Attorney: 1

A.S.

    •   “Any oral or written promises made by the United States Attorney’s Office or any other
        government agency to “A.S.,” as he is denoted in the Indictment, regarding: (1) his
        immigration status – past, present, or future; (2) his present detention status – that is, why
        he is not in custody at present if that is in fact his status; (3) any intention not to prosecute
        him for any federal crimes or offenses – past, present, or future; (3) any intention to
        facilitate his return to the Newton District Court to face the pending state charges there.”

    •   “Any oral or written promises made by the United States Attorney’s Office or any other
        government agency to “A.S.,” as he is denoted in the Indictment, regarding prosecuting
        or not prosecuting his family or friends who may have participating in formulating the so-
        called conspiracy with the Defense Attorney, as he is denoted in Paragraph 26 of the
        Indictment.”

Defense Attorney

    •   Any oral or written promises made by the United States Attorney’s Office or any other
        government agency to the Defense Attorney, as he is denoted in Paragraph 26 of the
        Indictment, as to whether there is any intention to prosecute the Defense Attorney for his
        role as a Co-Conspirator in establishing an initial agreement with the court officer
        (apparently preceding any contact with the defendant Joseph) that the court officer would
        use his security access card to release A.S. out the rear sally-port exit in order for A.S. to
        evade detainment by the ICE Office at the NDC Courthouse – and facilitating the
        agreement’s completion.

    •   Any oral or written promises by the United States Attorney’s Office or any other
        government agency to the Defense Attorney as to whether or not the United States
        Attorney’s Office or any government agency will report the Defense Attorney to the
        Massachusetts Board of Bar Overseers for his role as a Co-Conspirator in establishing an
        initial agreement with the court officer (apparently preceding any contact with the
        defendant Joseph) for the court officer to use his security access card to release A.S. out
        the rear sally-port exit in order for A.S. to evade detainment by the ICE Office at the
        NDC Courthouse.




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  The defense letter requests are set forth as Exhibit A (Joseph) and Exhibit B (MacGregor). The government
responses are attached as Exhibit C (Joseph) and Exhibit D (MacGregor). The request for exculpatory evidence may
be found at Exhibit A, page 2 (for one) in paragraphs enumerated as 4a-d.

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By letter request on June 6, 2019, pursuant to Local Rule 116.3(a), the defendant MacGregor

sought certain exculpatory discovery regarding the same two government witnesses. Requests a-

c by defendant MacGregor seek much of the same substance as defendant Joseph’s four

previously outlined requests. The exculpatory discovery requested pursuant to L.R.

116.2(b)(1)(C), sought the following on behalf of defendant MacGregor:


              a.      Any oral or written promises made by the United States Attorney’s Office
                      or any other government agency to “A.S.,” as he is denoted in the
                      Indictment, regarding: (1) any intention not to prosecute him for any
                      federal crimes or offenses, past or present; (2) any applications filed by
                      any government agency for an S visa or any other visa for the benefit of
                      A.S.; (3) any housing, financial, legal or other assistance provided to
                      A.S., (4) any applications filed on behalf of A.S. to secure any benefits or
                      assistance for him; and (5) any and all communication with any state or
                      federal court by the government or any government agents on behalf of
                      A.S. or in furtherance of this case.

              b.      Any oral or written promises made by the United States Attorney’s Office
                      or any other government agency to the Defense Attorney, as he is denoted
                      in Paragraph 26 of the Indictment, as to any and all communications and
                      or discussions relative to the government’s intent to prosecute or not to
                      prosecute the Defense Attorney for any federal crime including, but not
                      limited to a complete description of any hypothetical scenarios of potential
                      prosecutions used by the government or any agent of the government in
                      communicating with the Defense Attorney.

              c.      Any oral or written promises made by the United States Attorney’s Office
                      or any other government agency to the Defense Attorney regarding any
                      ethical violation the Defense Attorney may be exposed to which could
                      jeopardize the Defense Attorney’s license to practice law.

              d.      Any report from the Federal Marshals as to any alleged statement made by
                      MacGregor during transport to or from his initial appearance.

              e.      Any and all training, personnel, policy and procedures manuals for
                      Massachusetts Court Officers and all Massachusetts Trial Court
                      employees from 1993 to the present.

              f.      The mobile data terminal data, turret tapes, CAD sheets, booking photos
                      and drug certifications from the 3/30/18 arrest relating to A.S. as identified
                      in the Indictment.

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               g.     Any and all Department of Homeland Security or ICE detainee training
                      materials, training classes or instructions offered by the Massachusetts
                      Trial Court to any employees, including, but not limited to Court Officers.

               h.     All photographs referenced in the NCIC/III discovery from bate stamped
                      pages 654-676.

               i.     The complete FBI file for A.S.

               j.     Copies of the logs mentioned on bate stamped page 588 in the discovery

               k.     Any information the government has learned from any source as to the use
                      by any court officer of any lock up door to release a defendant, in the
                      Newton District Court or any other district or Superior Court, the number
                      of times such a release took place and the names and contact information
                      for any such court officer or witness.

               l.     Any and all communications between the United States Attorney’s
                      Office, the Department of Homeland Security and any member of the
                      Executive branch of government about this prosecution.

               m.     Any and all statements contradicting MacGregor’s alleged statements
                      and/or Grand Jury testimony known to the government and any of its
                      agents.


       The government responded to both letters by acknowledging that L.R. 116.2(b)(1)(C)

requires that the government produce within the automatic discovery period: “a statement

whether any promise, reward, or inducement has been given to any witness whom the

government anticipates calling in its case-in-chief … and a copy of any promise, reward, or

inducement reduced to writing. Exhibit C, page 2; Exhibit D, page 2. The government went on

to state that “As part of its May 23, 2019 automatic discovery production to defendant[s], the

government has supplied all L.R. 116.2(b)(1)(C) material to the defendant[s].”

       As to A.S., the government has produced no “statement” of promises in any discovery

materials provided to date.




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          As to the Defense Attorney, the government produced no “statement” of promises in its

cover letter of May 23, 2019. Within the materials provided under cover of the May 23 letter,

the government produced a proffer letter for the Defense Attorney and what would be described

as an immunity letter for the Defense Attorney. The immunity letter permits certain inferences

as to the likelihood of future prosecution, but the defense is entitled to an explicit statement –

“yes or no” – concerning the precise scope and nature of any promises, rewards or inducements

in that regard. As to the second Defense Attorney request, the defense in this matter is entitled to

a simple statement as to whether the Defense Attorney has been made any promise regarding the

Massachusetts Board of Bar Overseers – is the prosecution going to make a report of his criminal

conduct – or no?

   III.      JENCKS – GENERAL DISCLOSURE

          Comprehensive discovery affords counsel a full opportunity, rather than a barely

adequate or even inadequate and ineffective opportunity to prepare a case for trial. See Wardius

v. Oregon, 412 U.S. 470, 473-74 (1973) (“the ends of justice will be best be served by a system

of liberal discovery which gives both parties the maximum possible amount of information with

which to prepare their cases and thereby reduce surprise at trial.”) The timing of the disclosure is

as important as the fullness of the disclosure itself. There is a reason that L.R. 116.2(b)(1)(C)

requires that certain Brady material be disclosed within the automatic discovery period. There is

also a reason that both the federal rules and local rules require early disclosure of statements

potentially suppressible. Effectiveness on both sides of this trial process require time. A mere

21 days (if that) before trial makes the time advantage entirely one-sided.

          Although grand jury privacy considerations and potential threats to government witnesses

must be balanced against these due process concerns both as to exculpatory evidence and



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meaningful preparation, in this case, there certainly can be no reasonable argument that there

may a potential threat to government witnesses. Moreover, these grand jury privacy

considerations are glossed over by the government in the most serious cases of physical violence

when the government believes early disclosure may induce an early plea.

         Early Jencks disclosure serves the interest of the justice system – which is justice for all –

a goal in which the government necessarily shares. Therefore, the defendants request disclosure

of all Jencks materials forthwith as a matter of constitutional due process. See United States v.

Snell, 899 F. Supp. 17 (D. Mass. 1995).

   IV.      JENCKS – PARTICULARIZED TO SEVERANCE

         The defense has a particularized need for forthwith disclosure of a specific, Jencks

material subset – the grand jury minutes of the two essential government witnesses: (1) the

Defense Attorney and (2) the Assistant District Attorney.

         The undersigned defense counsel need the materials in order to fully and effectively

evaluate and present any Motion to Sever. Moreover, it is assumed that the Court would also

necessarily expect any such motion to be fully, effectively and properly presented.

         Grounds for such a motion to sever may include, but are not limited to: (1) spillover

prejudice; (2) strength of evidence against a particular defendant; (3) co-defendant’s counsel

becoming a second prosecutor. See generally, Zafiro v. United States, 506 U.S. 534, 113 S. Ct.

933 (1993).

         Here, the Defense Attorney grand jury minutes may or may not contain statements

allegedly made by the co-defendant MacGregor inculpating the defendant Joseph. Similarly, the

grand jury minutes of the Assistant District Attorney may or may not contain statements

inculpating the defendant MacGregor. Although both witnesses (the Defense Attorney and the



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Assistant District Attorney) may be expected to be available for cross-examination, knowledge

of the content of these two sets of grand jury minutes will particularly affect the defendants’

ability to be certain that they have fully and effectively presented their arguments for a severance

and affect the Court’s confidence similarly. Moreover, the earlier any such motion is presented

to the Court, or declared not to be presented, the more effectively the administration of the case

can proceed.

   V.      NON-JENCKS MATERIALS

        Defendant MacGregor requests information (outlined in d-m) that does not fall within

Jencks materials on the basis that these materials are exculpatory. See generally, Giglio v.

United States, 405 U.S. 150, 154 (1972); Kyles v. Whitley, 514 U.S. 419, 432-33 (1995).

        d.   Any report from the Federal Marshals as to any alleged statement made by
        MacGregor during transport to or from his initial appearance.

        The government has disclosed a statement allegedly made by MacGregor after his arrest,

which would have been in the U.S. Marshals’ presence. The U.S. Marshal’s version of what

transpired, including any contradictions in the statement already provided, is exculpatory

information. See United States v. Bagley, 475 U.S. 667, 676 (1985) (statements used for

impeachment purposes considered exculpatory).

        e.     Any and all training, personnel, policy and procedures manuals for
        Massachusetts Court Officers and all Massachusetts Trial Court employees from
        1993 to the present.

        The Government alleges that MacGregor released A.S. from a back door of the

courthouse in contravention of court policies and procedures. While the Government has

provided the Trial Court Personnel Manual, the Government has not provided the training

manuals, or policies and procedures for the Massachusetts Court Officers, which defendant




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MacGregor would have received training on, and would rebut any allegation that Macgregor’s

actions were in contravention of Court Officer training, policies or procedures.

       Whether MacGregor’s actions were actually in contravention of court policies and

procedures bears directly on whether MacGregor committed perjury, and his mens rea with

respect to the obstruction of justice charge. Any information undermining the Government’s

claims that MacGregor did not comply with policies and procedures in order to assist A.S. in

evading an ICE agent is exculpatory.

       f.     The mobile data terminal data, turret tapes, CAD sheets, booking photos and
       drug certifications from the 3/30/18 arrest relating to A.S. as identified in the
       Indictment.

       The Government has provided the arrest report as to the incident leading to the arrest of

A.S. The requested materials would serve to determine whether the arrest report is accurate, and

whether there was any reason to believe A.S. was not the person ICE was seeking the correct

person at the Newton District Courthouse on the day in question.


       g.     Any and all Department of Homeland Security or ICE detainee training
       materials, training classes or instructions offered by the Massachusetts Trial Court
       to any employees, including, but not limited to Court Officers.

       This information is relevant as to MacGregor’s state of mind as to whether he was acting

in contravention of any established policies and procedures, or prior training, and whether

Massachusetts court officers are trained in dealing with the transition from state custody to ICE

custody.

       h.     All photographs referenced in the NCIC/III discovery from bate stamped
       pages 654-676.

       According to the discovery previously provided, there was a question as to whether the

person in custody at Newton District Court was the same person ICE was seeking pursuant to a



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civil arrest warrant. The photographs contained in bates stamped pages 654-676 bear directly on

whether ICE was seeking the correct person, and whether defendant Joseph, the Defense

Attorney or defendant Macgregor were in any way obstructing justice, even if the parties took

the actions alleged by the Government in this case.

       i.       The complete FBI file for A.S.

       Whether A.S. has any prior federal arrests, or whether he was being monitored by the

federal government is relevant to whether ICE was seeking the correct person at the Newton

District Court. The information is also relevant for impeachment purposes, to demonstrate bias,

such as the reasonableness and impact of any promises, rewards or inducements provided to A.S.

For example, the more involved A.S. was in criminal activity, the more A.S. would be willing to

cooperate in order to absolve himself from potential penalties, including incarceration and

deportation.

       j.       Copies of the logs mentioned on bate stamped page 588 in the discovery.

       This is a request for clarification as to what the contents of page 588 refer to.

       k.     Any information the government has learned from any source as to the use
       by any court officer of any lock up door to release a defendant, in the Newton
       District Court or any other district or Superior Court, the number of times such a
       release took place and the names and contact information for any such court officer
       or witness.

       The Government alleges that MacGregor opened the back door of the courthouse in

direct contravention of trial court policies and procedures, and that neither defendant MacGregor

nor any other court officer had ever opened a back door for an individual released from custody.

This contention serves the basis for the allegation that MacGregor specifically opened the door

on this one occasion so that A.S. could avoid ICE detention, which is the underlying basis for the




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obstruction of justice charge. Furthermore, this allegation serves as the basis for the perjury

charge against defendant MacGregor.

         Any information possessed by the Government that other court officers had released

individuals from custody out of a lock up door instead of the main courthouse doors directly

undermines the facts and circumstances that serve the basis for all charges against MacGregor

and are plainly exculpatory. See generally, Brady, 373 U.S. at 87; Giglio, 405 U.S. at 154.

         l.    Any and all communications between the United States Attorney’s Office, the
         Department of Homeland Security and any member of the Executive branch of
         government about this prosecution.

         MacGregor is seeking only the substance of any conversations that are exculpatory.

         m.    Any and all statements contradicting MacGregor’s alleged statements and/or
         Grand Jury testimony known to the government and any of its agents.

         The Government alleges that MacGregor provided false testimony before the Grand Jury,

however, it is not clear from the discovery provided to date where the basis for the perjury

charge stems from. Any statements the Government used to contradict MacGregor, including

any omissions within the statements, are exculpatory.

         Furthermore, the Government alleges that MacGregor and the Defense Attorney

conspired together and agreed – even prior to defendant Joseph’s involvement in the case – that

MacGregor would open a back door for A.S. The statement of the Defense Attorney relating to

this allegation falls within a Jencks disclosure, and any information contradicting this

information would be exculpatory. See 18 U.S.C. § 3500. See also Giglio, 405 U.S. at 154.

   VI.      GRAND JURY INSTRUCTIONS

         By letter request the defendants sought any instructions given the grand jury concerning

the elements of each offense charged. The government declined. The defendants request leave

to file any motion for such instructions at the time of the filing of any Motions to Dismiss, rather

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than now, because the law and argument supporting such Motion to Dismiss will also relate to,

and support, any motion for jury instructions and be best presented in tandem.



                                              Respectfully submitted,
                                              SHELLEY M. RICHMOND JOSEPH

                                              /s/ Thomas M. Hoopes
                                              THOMAS M. HOOPES, ESQ.
                                              BBO No. 239340
                                              DOUGLAS S. BROOKS, ESQ.
                                              BBO No. 636697
                                              LibbyHoopes, P.C.
                                              399 Boylston Street
                                              Boston, MA 02116
                                              617.338.9300
                                              Email: thoopes@libbyhoopes.com



                                              WESLEY MACGREGOR

                                              /s/ Rosemary Curran Scapicchio
                                              Rosemary Curran Scapicchio
                                              BBO No. 558312
                                              107 Union Wharf
                                              Boston, MA 02109
                                              (617) 263-7400
                                              Scapicchio_Attorney@yahoo.com

DATE:          July 3, 2019

                   CERTIFICATE OF COMPLIANCE WITH LR 116.3(F)

        I hereby certify that counsel have communicated about the subject matter of this motion
in an effort to narrow differences prior to filing, as reflected, inter alia, in the correspondence
reference herein.

                                              /s/ Thomas M. Hoopes




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                                 CERTIFICATE OF SERVICE

        I hereby certify that these documents filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies/PDFs will be sent by regular mail/email on this date to those indicated as non-
registered participants.

                                              /s/ Thomas M. Hoopes




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